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IN THE UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF COLUMBIA
)
UNITED STATES OF AMERICA, )
)
v. ) Case No. 23-CR-239-CKK
)
HEATHER R. MORGAN. )
)
)
)

CONSENT MOTION TO MODIFY
CONDITIONS OF PRETRIAL RELEASE

Heather Morgan, through undersigned counsel, and with consent of the government and
Pretrial Services, respectfully asks this Court to modify the conditions of pretrial release as
follows: (1) to step Ms. Morgan down from home incarceration to home detention, such that she
may leave the residence for work and work-related events and medical appointments as needed,
and without advance approval of Pretrial Services; (2) to expand the locations to which Ms.
Morgan is permitted to travel to District of New Jersey; (3) to permit travel outside of the Southern

and Eastern District of New York, and the District of New Jersey, with the approval of Pretrial

Services and the govern men {Gana aes
PES +) ‘9 permit Ms. Morgan to possess additional

electronic devices with monitoring software installed on each such device. In support of this

motion, Ms. Morgan states as follows:

1. Ms. Morgan is currently on pretrial release. Ms. Morgan is under the courtesy
supervision of the U.S. Pretrial Office for the Southern District of New York, with primary

supervision in this District.
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2. On August 3, 2023, Ms. Morgan entered a plea of guilty to two counts of 18 U.S.C.

§ 371. As set forth in her plea agreement, the parties agree that she faces an advisory guidelines

range of 63 to 78 month tienen en eerenae
Maes. |: Morgan has no criminal history, and has been in full

compliance with strict conditions of pretrial release entered by the Honorable Beryl A. Howell
nearly 18 months ago, on February 14, 2022.

3. Under the current conditions of pretrial release, Ms. Morgan is subject to 24-hour
home incarceration, with a modification that permits Ms. Morgan to leave her residence for work
on specific days. See US v. Morgan, 22-MJ-22, Conditions of Release 4 (7)(p)(iii) (ECF 24); Order
Modifying Conditions (22-MJ-22, ECF 79) (permitting Ms. Morgan to leave home incarceration
for work on Monday, Wednesday and Friday from 10 AM until 8:30 PM). With the exception of
travel for court hearings and attorney conferences, Ms. Morgan’s travel is restricted to the Southern
District of New York and the Eastern District of New York. 22-MJ-22, ECF 244 7(f). Ms. Morgan
was limited to one specific electronic device with monitoring software installed by Pretrial
Services. /d. at {| 7(t). This condition was subsequently modified to permit Ms. Morgan to possess
a smart phone with monitoring software. See 22-MJ-22, ECF 70 (Motion) and November 22, 2022
Minute Order granting motion.

4. Ms. Morgan is currently employed as a growth marketing and business
development specialist, and is expected to go to work from her employer's office. See 22-MJ-22,
ECF 70. Ms. Morgan must also attend work events, conferences, and client meetings that are often
scheduled outside of regular work hours, including on weekends. Many of these events are
scheduled on short notice. Additionally, Ms. Morgan works on a contract basis with her own

clients, including one business that is located in the District of New Jersey. This work often
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requires her to attend in-person meetings. Given these circumstances, Ms. Morgan respectfully
asks this Court to modify the conditions of release and place her on home detention, rather than
home incarceration.

5. With respect to travel outside of the permitted Districts, Ms. Morgan respectfully
asks this Court to permit such travel without the need to file a motion where both Pretrial Services
and the government approve of such travel. The parties respectfully submit that such a

modification is appropriate given Ms. Morgan's compliance with strict conditions of release over

the course of nearly 18 months Sia eae eens
ae e eee! s. Morgan will remain subject to

location monitoring during any such travel.

6. Finally, with respect to her request for additional electronic devices, Ms. Morgan
is currently limited to a computer and a smart phone. However, her work at times can be done
more efficiently on a tablet, such an as iPad. In addition, her employer or her clients may require
her to work on specific electronic devices. All such devices would be subject to electronic

monitoring by Pretrial Services.

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For the foregoing reasons, Ms. Morgan respectfully asks this Court to modify the

conditions of pretrial release as detailed above.

Respectfully submitted,

By: /s/ Eugene Gorokhoy
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CERTIFICATE OF SERVICE

I hereby certify that | caused this motion to be served upon counsel for the government via

ECF and the unredacted version was served by email.

/s!
Counsel for Ms. Morgan
